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EXHIBIT A
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U.S. Department of Justice

Carmen M. Ortiz
United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
7 Courthouse Way
Suite 9200
Boston, Massachusetts 02210

February 24, 2015

Scott Behman

c/o William J. Lovett
Collora, LP

100 High Street
Boston, MA 02210

Re: Grand Jury Subpoena

Dear Sir or Madam:

Pursuant to an official investigation being conducted by a federal Grand Jury in the District of
Massachusetts of suspected violations of federal criminal law, you are directed to furnish to the Grand
Jury the documents described in the attached subpoena.

You are hereby requested not to disclose the existence of this subpoena, or the fact of your
compliance therewith, to anyone. While you are not required to comply with this request, any such
disclosure could impede the investigation and thereby interfere with the enforcement of federal criminal
law.

If you have any questions regarding this letter, or the attached subpoena, please contact Special
Agent Ronald Mullett, IRS-Cl, 60 Quaker Lane, Ste 68, Warwick, RI 02886; Ronald. Mullett@ci.i IFS.ZOVv.
SA Mullett can be reached at 401-826-4724,

Very truly yours,

CARMEN M. ORTIZ
United States Attorney

wv he Bi Vt rowel

ssistant U.S. Attorney

 

Attachments
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AO 110 (Rev. 06/09) Subpoena to Testify Before a Grand Jury

UNITED STATES DISTRICT COURT

for the
District of Massachusetts

SUBPOENA TO TESTIFY BEFORE A GRAND JURY

Scott Behman

To: c/o William J. Lovett
Collora, LP
100 High Street
Boston, MA 02110

YOU ARE COMMANDED to appear in this United States district court at the time, date, and place shown
below to testify before the court’s grand jury. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.

 

John Joseph Moakley Federal Courthouse

Place: Grand Jury Room, 10th Floor Date and Time:

|

1 Courthouse Way | 03/11/2015 10:00 am
Boston, MA 02210 |

 

You must also bring with you the following documents, electronically stored information, or objects (blank ifnot
applicable}.

THIS SUBPOENA REQUEST IS FOR PRODUCTION OF DOCUMENTS ONLY, as set forth the the Attachment.

In lieu of appearing before the Grand Jury at the date and time shown above, you may comply with this subpoena by,
at our option, causing the materials described to be mailed or emailed to Special Agent Ronald Mullett, IRS-Cl, 60
Quaker Lane, Ste 68, Warwick, RI 02886; Ronald.Mullett@ci.irs.gov. SA Mullett can be reached at 401-826-4724. Such
documents must be received before the return date of this subpoena.

The attached Certificate of Authenticity must be completed and returned, along with a copy of this subpoena.

Date: 02/24/2015

 

 

The name, address, e-mail, and telephone number of the United States attorney, or assistant United States attorney, who
requests this subpoena, are,

AUSA Stephen P. rere ke Phe Hes a al&es
United States Attorney's O

John Joseph Moakiey U.S. Courthouse

1 Courthouse Way, Suite 9200

Boston, MA 02210
Telephone: 617-748-3100
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Attachment
Scott Behman
c/o William J. Lovett
Collora, LLP
100 High Street

Boston, MA 02110

For the years 2005-2010, all files, e-mail communications, documents, recordings
and other records relating to, regarding or referring to:

1. Actual and purported loans made to the firm of Gibson and Behman, P.C.
(“the firm”) by Daniel Gibson, Scott Behman or others;

2. Actual and purported gross receipts of the firm;

3. Actual and purported bookkeeping errors requiring adjustments during
preparation of the firm’s tax returns;

4. Distributions made to Daniel Gibson by the firm;

5. Payments made to the firm by Daniel Gibson;

6. Instructions concerning the firm’s bookkeeping given by Daniel Gibson to
Dawn Garrity;

7. Instructions concerning the firm’s bookkeeping given to Kesner, Godes and
Morrisey and/or Mark Kesner concerning the firm’s tax preparation and/or
accounting;

8. Communications with Mark Kesner and or the firm of Kesner, Godes and
Morrisey concerning preparation of the firms tax filings.
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CERTIFICATE OF AUTHENTICITY
OF
BUSINESS RECORDS

L, , attest that:
lam employed by ;

that my official title is ; and

that | have been appointed the keeper of the attached records.

Each of the attached records is the original or a duplicate of the original records in

the custody of

 

| further state that:

A) these records were made, at or near the time of the occurrence of the
matters set forth, by (or from information transmitted by) a person with
knowledge of those matters:

B) these records were kept in the course of a regularly conducted business
activity; and

C) it was the regular practice of this business to make such records.

| certify under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct. 28 U.S.C. 81746.

Executed on

 

Date Signature

 

Location
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